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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

Oplus Technologies, Ltd.
                                      Plaintiff,
v.                                                       Case No.: 1:11−cv−09027
                                                         Honorable John J. Tharp Jr.
Funai Electric Co., Ltd., et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 12, 2014:


       MINUTE entry before the Honorable John J. Tharp, Jr: Status hearing held. Parties
have concluded their settlement. Upon the parties' joint oral motion, the case is dismissed
with prejudice pursuant to Rule 41 (a)(1)(A)(ii), each side to bear its own attorneys' fees
and costs. Case terminated. Mailed notice(air, )




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